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                           MINUTES OF THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA

                                              VS
               Nuvasive, Inc.                                     Alphatec Holdings, Inc.
Case Number:      18-CV-0347-CAB-MDD       WITNESS LIST                        Jury Trial

    DATE                   PLF       DEF                         WITNESS NAME
    3/1/2022                X                                        Kyle Malone
    3/2/2022                X                                        Kyle Malone
    3/2/2022                X                                      Paul McClintock

    3/2/2022                X                             Kelli Howell (Deposition Video Clip)
    3/2/2022                X                         Scott Robinson (Deposition Video Clip)
    3/2/2022                X                             Frank Chang (Deposition Video Clip)

    3/2/2022                X                             Mike Aleali (Deposition Video Clip)

    3/2/2022                X                                  Dr. Jim Youssef (Expert)

    3/3/2022                X                                  Dr. Jim Youssef (Expert)
    3/4/2022                X                                  Dr. Jim Youssef (Expert)
    3/4/2022                X                                    Blake Inglish (Expert)
    3/7/2022                           X                             Kelli Howell

    3/7/2022                           X                          Jonathan Costabile

    3/7/2022                           X                            Scott Robinson
    3/8/2022                           X                    Dr. Payam Moazzaz (Deposition)
    3/8/2022                           X                      Dr. Barton L. Sachs (Expert)

    3/8/2022                           X                       John English (Deposition)
    3/8/2022                           X                      Matthew Link (Deposition)

    3/8/2022                           X                     Paul McClintock (Deposition)

    3/8/2022                           X                       Dr. Keith Ugone (Expert)
    3/8/2022                           X                        Eric Finley (Deposition)

    3/9/2022                           X                    Dr. Charles Branch, Jr. (Expert)
    3/9/2022                           X                      Gregory Lucier (Deposition)
   3/9/2022                            X                            Patrick Miles
   3/10/2022                X                              Dr. Jim Youssef (Expert Rebuttal)
